Case 3:12-cr-00849-KC Document 1323 Filed 08/07/24 Page 1 of 1
       Complete items 1, 2, and 3.                                  A. Signat

       Print your name and address on the reverse
       so that we can return the card to you.                                                                           0 Addressee
       Attach this card to the back of the mailpiece,                                            Name)         I
                                                                                                                   C. Date of teliv
       or on the front if space permits.
       Article Addressed to:                                        D. Is delivery address different from item 1?       0 Yes
                                                                         If YES, enter delivery address below:          0 No
       Ray Velarde
       Attorney at Law
       1216 Montana Avenue
                                                                              FiLED
       El Paso, TX 79902                                                               AUG 072024
       EP12CRR4qKC..7

        iiiiflfiiiriium iiiwTüüui III
          9590 9402 8271 3094 5416 10
                                                           IDAaluM
                                                           I



                                                           I
                                                               3.


                                                               o
                                                                    ce    I




                                                           ID Certified Mail H
                                                                                     ,U.Si,   DISTRICTJcOVR' Express®
                                                                                                                              RestrIcted

                                                                                                                          unfim1ationTM
                                                           I   D Collect on Delivery                               lionfirmation
  ')   A,11r,l,   Ni imber (Thansfar from service label)   I   0 Collect on Delivery Restricted Delivery      Restricted Delivery
                                                           In                 Mail
                  ?0213      1810 0001 915 3623                                 silResthpteqDellyery

  PS Form 3811, July 2020 PSN 7530-02-000-9053                                                             Domestic Return Receipt
